      Case 2:05-cr-02087-LRS    ECF No. 348   filed 03/31/06   PageID.1077 Page 1 of 3




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 6                              UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF WASHINGTON
 7
      UNITED STATES OF AMERICA,
 8                                              NO. CR-05-2087-3-LRS
                          Plaintiff,            NO. CR-05-2087-5-LRS
 9
                   v.                           ORDER DENYING DEFENDANTS’
10                                              MOTIONS FOR RECONSIDERATION
      ANTONIO AVILA VERDUZCO, and
11    FRANCISCO PADILLA,
12                        Defendants.
13

14        BEFORE    THE     COURT    is   the    Defendant       Verduzco’s     Motion   for

15 Reconsideration, Ct. Rec. 339, filed on March 26, 2006 in No. CR-05-2087-

16 LRS-3; and Defendant Padilla’s Motion to Join in Motion to Reconsider

17 Dismissal Without Prejudice, Ct. Rec. 346, filed on March 28, 2006 in No.

18 CR-05-2087-LRS-5.        The government has not responded.

19        Defendant Verduzco argues that the failure to dismiss with prejudice

20 would adversely impact the Speedy Trial Act and the administration of

21 justice in this case.            Defendant Verduzco argues a dismissal without

22 prejudice is the functional equivalent of granting the Government’s

23 motion for a continuance, filed and denied prior to trial.

24        Defendant Padilla argues that the government never had a case

25 against him and that his life has changed dramatically due to the

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     ORDER ~ 1
      Case 2:05-cr-02087-LRS   ECF No. 348   filed 03/31/06   PageID.1078 Page 2 of 3




 1 charges.      With the current status of the case, Defendant Padilla argues

 2 that he will not be free to return to California.

 3         The Court does not find any actual prejudice to Defendants.                   To

 4 dismiss with prejudice would be inappropriate under the facts of this

 5 case.    The Court stands by its earlier ruling.

 6         Federal courts draw their power to dismiss indictments from two

 7 sources.      First, a court may dismiss an indictment if it perceives

 8 constitutional error that interferes with the grand jury's independence

 9 and the integrity of the grand jury proceeding. “Constitutional error

10 is found where the ‘structural protections of the grand jury have been

11 so compromised as to render the proceedings fundamentally unfair,

12 allowing the presumption of prejudice’ to the defendant.” United States

13 v. Larrazolo, 869 F.2d 1354, 1357-58 (9th Cir.1989). Constitutional

14 error may also be found “if [the] defendant can show a history of

15 prosecutorial misconduct that is so systematic and pervasive that it

16 affects the fundamental fairness of the proceeding or if the

17 independence of the grand jury is substantially infringed.”                  Id. at

18 1358.

19         Second, a district court may draw on its supervisory powers to

20 dismiss an indictment.        The supervisory powers doctrine “is premised on

21 the inherent ability of the federal courts to formulate procedural

22 rules not specifically required by the Constitution or Congress to

23 supervise the administration of justice.”              Id. at 1358.     Before it may

24 invoke this power, a court must first find that the defendant is

25 actually prejudiced by the misconduct.             Absent such prejudice-that is,

26 absent “ ‘grave’ doubt that the decision to indict was free from the


     ORDER ~ 2
      Case 2:05-cr-02087-LRS    ECF No. 348    filed 03/31/06   PageID.1079 Page 3 of 3




 1 substantial influence of [the misconduct]”-a dismissal is not

 2 warranted.      Bank of Nova Scotia v. United States, 487 U.S. 250, 256,

 3 108 S.Ct. 2369, 101 L.Ed.2d 228 (1988).

 4        Dismissal of an indictment with prejudice is the most severe

 5 sanction possible. Such dismissal exercised under the guise of

 6 “supervisory power” is impermissible absent “a clear basis in fact and

 7 law for doing so.”          United States v. Chanen, 549 F.2d 1306, 1313 (9th

 8 Cir.1977).

 9        The Court has considered the written materials of counsel and

10 cannot find any prosecutorial misconduct or that Defendants have

11 suffered any actual prejudice.             Accordingly,

12        IT IS HEREBY ORDERED:

13        1.     Defendant Verduzco’s Motion for Reconsideration, Ct. Rec.

14 339, filed on March 26, 2006 in No. CR-05-2087-LRS-3, is DENIED.

15        2.     Defendant Padilla’s Motion to Join in Motion to Reconsider

16 Dismissal Without Prejudice, Ct. Rec. 346, filed on March 28, 2006 in

17 No. CR-05-2087-LRS-5 is GRANTED in part and DENIED in part.                    The

18 request for joinder is granted but the motion to reconsider dismissal

19 without prejudice is DENIED.

20        IT IS SO ORDERED.       The District Court Executive is directed to enter

21 this order and to provide copies to all counsel.

22        DATED this     31st        day of March, 2006.

23
                                      s/Lonny R. Suko
24
                                        LONNY R. SUKO
25                              United States District Judge

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     ORDER ~ 3
